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            DECLARATION A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                    )
FATMA MAROUF and BRYN ESPLIN,                       )
                                                    )
                      Plaintiffs,                   )
                                                    )
               v.                                   )       Case No. 1:18-cv-378 (APM)
                                                    )
XAVIER BECERRA, in his official capacity as         )
Secretary of the United States Department of        )
Health and Human Services, et al.,                  )
                                                    )
                      Defendants.                   )
                                                    )

               DECLARATION OF KENNETH Y. CHOE IN SUPPORT OF
                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       I, Kenneth Y. Choe, declare that I am over 18 years of age and otherwise competent to

testify as to the matters herein, which are based on my personal knowledge:


       1.      I am a partner at the law firm Hogan Lovells US LLP, and counsel for Plaintiffs

Fatma Marouf and Bryn Esplin (“Plaintiffs”) in the above-captioned matter. I make this declaration

in support of Plaintiffs’ Motion for Summary Judgment, and I do so based on personal knowledge

of the matters stated herein and my personal review of the referenced documents.

       2.      Attached as Exhibit 1 is a true and correct copy of the document bearing the bates

number range HHS01144-HHS01175, as produced by the U.S. Department of Health and Human

Services (“HHS”), Administration for Children and Families (“ACF”), and the Office of Refugee

Resettlement (“ORR”) (collectively referred to herein as “Federal Defendants”) in this case.

       3.      Attached as Exhibit 2 is a true and correct copy of the document bearing the bates

number range HHS13124-HHS13135, as produced by Federal Defendants in this case.




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       4.      Attached as Exhibit 3 is a true and correct copy of the document bearing the bates

number range HHS04221-HHS04281, as produced by Federal Defendants in this case.

       5.      Attached as Exhibit 4 is a true and correct copy of the document bearing the bates

number range USCCB000004-USCCB000024, as produced by Defendant United States

Conference of Catholic Bishops (“USCCB”) in this case. Federal Defendants have withdrawn the

confidentiality designations for the un-redacted portions of this Exhibit.

       6.      Attached as Exhibit 5 is a true and correct copy of the document bearing the bates

number range HHS_SUPP_000248-HHS_SUPP_000266, as produced by USCCB in this case.

       7.      Attached as Exhibit 6 is a true and correct copy of excerpts from the October 2,

2020 deposition transcript of Krystin Peck. Federal Defendants have withdrawn the confidentiality

designation for this Exhibit.

       8.      Attached as Exhibit 7 is a true and correct copy of excerpts from the December 7,

2020 Rule 30(b)(6) deposition transcript of Kathryn Kuennen, a corporate representative of

USCCB. Federal Defendants have withdrawn the confidentiality designation of this Exhibit.

       9.      Attached as Exhibit 8 is a true and correct copy of the document bearing bates

number HHS00216, as produced by Federal Defendants in this case.

       10.     Attached as Exhibit 9 is a true and correct copy of the document bearing the bates

number range HHS03478-HHS03596, as produced by Federal Defendants in this case.

       11.     Attached as Exhibit 10 is a true and correct copy of the document bearing the bates

number range HHS23981-HHS23989, as produced by Federal Defendants in this case.

       12.     Attached as Exhibit 11 is a true and correct copy of the document bearing bates

number range USCCB000200-USCCB000205, as produced by USCCB in this case.




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       13.     Attached as Exhibit 12 is a true and correct copy of the document bearing bates

number range HHS10364-HHS10369, as produced by Federal Defendants in this case.

       14.     Attached as Exhibit 13 is a true and correct copy of excerpts from the September

28, 2020 deposition transcript of Kenneth Tota.

       15.     Attached as Exhibit 14 is a true and correct copy of the document bearing bates

number range HHS04129-HHS04155, as produced by Federal Defendants in this case.

       16.     Attached as Exhibit 15 is a true and correct copy of excerpts from the August 26,

2020 deposition transcript of Jallyn Sualog.

       17.     Attached as Exhibit 16 is a true and correct copy of the document bearing bates

number range HHS14859-HHS14860, as produced by Federal Defendants in this case.

       18.     Attached as Exhibit 17 is a true and correct copy of excerpts from the November

18, 2020 deposition transcript of Dana Springer.

       19.     Attached as Exhibit 18 is a true and correct copy of excerpts from the November 6,

2020 deposition transcript of Plaintiff Fatma Marouf.

       20.     Attached as Exhibit 19 is a true and correct copy of the document bearing bates

number range USCCB000234-USCCB000236, as produced by USCCB in this case.

       21.     Attached as Exhibit 20 is a true and correct copy of the document bearing bates

number range HHS02683-HHS02687, as produced by Federal Defendants in this case.

       22.     Attached as Exhibit 21 is a true and correct copy of the document bearing bates

number range HHS03006-HHS03008, as produced by Federal Defendants in this case.

       23.     Attached as Exhibit 22 is a true and correct copy of excerpts from the November 6,

2020 deposition transcript of Plaintiff Bryn Esplin.




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       24.     Attached as Exhibit 23 is a true and correct copy of the document bearing bates

number HHS01572, as produced by Federal Defendants in this case. Federal Defendants have

withdrawn the confidentiality designations for the un-redacted portions of this Exhibit.

       25.     Attached as Exhibit 24 is a true and correct copy of the document bearing bates

number range HHS25012-HHS25013, as produced by Federal Defendants in this case. Federal

Defendants have withdrawn the confidentiality designations for the un-redacted portions of this

Exhibit.

       26.     Attached as Exhibit 25 is a true and correct copy of the document bearing bates

number range HHS25014-HHS25015, as produced by Federal Defendants in this case. Federal

Defendants have withdrawn the confidentiality designations for the un-redacted portions of this

Exhibit.

       27.     Attached as Exhibit 26 is a true and correct copy of the document bearing bates

number HHS25009, as produced by Federal Defendants in this case. Federal Defendants have

withdrawn the confidentiality designations for the un-redacted portions of this Exhibit.

       28.     Attached as Exhibit 27 is a true and correct copy of the document bearing bates

number range CCFW 000088-CCFW 000093, as produced by Catholic Charities of Fort Worth

(“CCFW”) in this case.

       29.     Attached as Exhibit 28 is a true and correct copy of the document bearing bates

number range CCFW 000045-CCFW 000047, as produced by CCFW in this case.

       30.     Attached as Exhibit 29 is a true and correct copy of the document bearing bates

number range HHS22260-HHS22261, as produced by Federal Defendants in this case. Federal

Defendants have withdrawn the confidentiality designations for the un-redacted portions of this

Exhibit.



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        31.    Attached as Exhibit 30 is a true and correct copy of as the document bearing bates

number HHS_SUPP_000043, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        32.    Attached as Exhibit 31 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000011-HHS_SUPP_000014, as produced by Federal Defendants in

this case.

        33.    Attached as Exhibit 32 is a true and correct copy of excerpts from the May 18, 2022

Rule 30(b)(6) deposition transcript of Anne Mullooly, a representative of Federal Defendants.

        34.    Attached as Exhibit 33 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000193-HHS_SUPP_000195, as produced by Federal Defendants in

this case.

        35.    Attached as Exhibit 34 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000269-HHS_SUPP_000271, as produced by Federal Defendants in

this case.

        36.    Attached as Exhibit 35 is a true and correct copy of the document bearing bates

number HHS_SUPP_000009, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        37.    Attached as Exhibit 36 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000146-HHS_SUPP_000158, as produced by Federal Defendants in

this case. Federal Defendants have withdrawn the confidentiality designation of this Exhibit.

        38.    Attached as Exhibit 37 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000179-HHS_SUPP_000180, as produced by Federal Defendants in

this case.



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        39.    Attached as Exhibit 38 is a true and correct copy of the document bearing bates

number HHS_SUPP_000196, as produced by Federal Defendants in this case.

        40.    Attached as Exhibit 39 is a true and correct copy of as the document bearing bates

number HHS_SUPP_000010, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        41.    Attached as Exhibit 40 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000053-HHS_SUPP_000055, as produced by Federal Defendants in

this case. Federal Defendants have withdrawn the confidentiality designation of this Exhibit.

        42.    Attached as Exhibit 41 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000161-HHS_SUPP_000163, as produced by Federal Defendants in

this case.

        43.    Attached as Exhibit 42 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000164-HHS_SUPP_000168, as produced by Federal Defendants in

this case.

        44.    Attached as Exhibit 43 is a true and correct copy of the document bearing bates

number HHS_SUPP_000202, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        45.    Attached as Exhibit 44 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000015-HHS_SUPP_000021, as produced by Federal Defendants in

this case.

        46.    Attached as Exhibit 45 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000187-HHS_SUPP_000188, as produced by Federal Defendants in

this case.



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        47.    Attached as Exhibit 46 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000076-HHS_SUPP_000078, as produced by Federal Defendants in

this case. Federal Defendants have withdrawn the confidentiality designation of this Exhibit.

        48.    Attached as Exhibit 47 is a true and correct copy of the document bearing bates

number HHS_SUPP_000094, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        49.    Attached as Exhibit 48 is a true and correct copy of the document bearing bates

number range HHS_SUPP_000110-HHS_SUPP_000142, as produced by Federal Defendants in

this case.

        50.    Attached as Exhibit 49 is a true and correct copy of the document bearing bates

number HHS_SUPP_000083, as produced by Federal Defendants in this case. Federal Defendants

have withdrawn the confidentiality designation of this Exhibit.

        51.    Attached as Exhibit 50 is a true and correct copy of the Expert Report of David M.

Brodzinsky, Ph.D., dated August 24, 2020.

        52.    Attached as Exhibit 51 is a true and correct copy of an excerpt of Child Welfare

League of America, Standards of Excellence for Family Foster Care Services 97 (Child Welfare

League of America ed., rev. ed. 1995).

        53.    Attached as Exhibit 52 is a true and correct copy of an excerpt of Child Welfare

League of America, CWLA Standards of Excellence for Adoption Services 56-5 (Child Welfare

League of America ed., rev. ed. 2000).

        54.    Attached as Exhibit 53 is a true and correct copy of Gary J. Gates, LGBT Parenting

in the United States, The Williams Inst. (Feb. 2013).




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       55.     Attached as Exhibit 54 is a true and correct copy of Gary J. Gates et al., Adoption

and Foster• Care by Gay and Lesbian Parents in the United States, The Williams Inst. (Mar. 2007).

       56.     Attached as Exhibit 55 is a true and correct copy of Rachel H. Farr et al., LGBTO.

Adoptive Parents and Their Children, in LGBTQ-Parent Families: Innovations in Research and

Implicationsfor Practice 45-64 (Abbie      Goldberg & Katherine R. Allen, eds., 2d ed. (2020).

       57.     Attached as Exhibit 56 is a true and correct copy of Exhibit 9 to the November 18,

2020 deposition of Dana Springer.

       58.     Attached as Exhibit 57 is a true and correct copy of Exhibit I 0 to the November 18,

2020 deposition of Dana Springer.

       59.     Attached as Exhibit 58 is a true and correct copy of Exhibit 7 to the December 3,

2020 Rule 30(b)(6) deposition of Sarah Viola, a representative of Federal Defendants.

       Pursuant to 28 U.S.C. § 1746, 1 declare under penalty of perjury that the foregoing is true

and correct.

       Executed on this 27th day of July 2022, in Washington. B.C.




                                                             Kenneth Y. Choe -




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